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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA,
                                                    Case No. 1:23-cr-00118 and 1:24-cr-00104
                 Plaintiff,
                                                    UNITED STATES’ EVIDENTIARY
                 v.                                 HEARING WITNESS AND EXHIBIT
                                                    SUMMARY LIST
 CAMERON MONTE SMITH,

                 Defendants.

       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Jonathan J. O'Konek, Assistant United States Attorney,

submits the aforementioned evidentiary hearing witness and exhibit summary list for the

Court’s consideration.

       This Court has scheduled an evidentiary hearing for Friday, January 10, 2025, where

the United States will present evidence in support of the following matters in this case:

   1. USSG § 2B1.1 loss amount calculations;

   2. The terrorism upward departure provision contained within Application Note 4 of

       USSG § 3A1.4; and

   3. 18 U.S.C. § 3663A restitution calculations.

       At this hearing, the United States intends to present testimony from the following

witnesses:

   1. FBI Special Agent Daniel Lewis, Williston, North Dakota;

   2. FBI Special Agent Troy Breitenbach, Computer Analysis Response Team (CART),

       Minneapolis, Minnesota;
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   3. FBI Forensic Accountant Mark Danielson, Minneapolis, Minnesota;

   4. Derik Johnson, Division Manager, Basin Electric Power Cooperative;

   5. Katrina Wald, Vice President Controller, Basin Electric Power Cooperative;

   6. Daniel Graham, Chief Security & Compliance Officer, Basin Electric Power

       Cooperative;

   7. Mark Hoffman, Chief Operations Officer, East River Electric Power Cooperative; and

   8. Steve Peterson, Mountrail Williams Electric Cooperative.

       The United States’ evidentiary hearing exhibits listed below are generally categorized

as follows:

   1. Exhibit 13 is a summary document that provides both a summary and an itemized list

       of the loss and restitution amount requests in this case, which is relevant for the

       Court’s consideration of the USSG § 2B1.1 loss amount calculations and 18 U.S.C. §

       3663A restitution calculations;

   2. Exhibit 7 is a catalog of photographs depicting damage to the Wheelock, North

       Dakota, Substation operated by Basin Electric Power Cooperative, and the impact this

       damage had upon the facility, which is relevant for the Court’s consideration of the

       terrorism upward departure provision contained within Application Note 4 of USSG §

       3A1.4, the USSG § 2B1.1 loss amount calculations, and 18 U.S.C. § 3663A

       restitution calculations;

   3. Exhibit 8 is a list of Basin Electric Power Cooperative financial documents depicting

       the costs associated with repairing the damage to the Wheelock, North Dakota,

       Substation, which is relevant for the Court’s consideration of the USSG § 2B1.1 loss

       amount calculations and 18 U.S.C. § 3663A restitution calculations;

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4. Exhibit 9 is a list of Mountrail Williams Electric Cooperative financial documents

   depicting the costs associated with repairing the damage to their property, which is

   relevant for the Court’s consideration of the USSG § 2B1.1 loss amount calculations

   and 18 U.S.C. § 3663A restitution calculations;

5. Exhibit 10 is a catalog of photographs depicting damage to the Carpenter, South

   Dakota, Substation operated by East River Electric Power Cooperative, and the

   impact this damage had upon the facility, which is relevant for the Court’s

   consideration of the terrorism upward departure provision contained within

   Application Note 4 of USSG § 3A1.4, the USSG § 2B1.1 loss amount calculations,

   and 18 U.S.C. § 3663A restitution calculations;

6. Exhibit 11 is a list of East River Electric Power Cooperative financial documents

   depicting the costs associated with repairing the Carpenter, South Dakota, substation,

   which is relevant for the Court’s consideration of the USSG § 2B1.1 loss amount

   calculations and 18 U.S.C. § 3663A restitution calculations; and

7. Exhibits 1 through 6 and Exhibit 12 depict evidence that law enforcement obtained

   after executing a search warrant upon the defendant’s Oregon residence—which

   included the defendant’s electronic devices—that is relevant to the Court’s

   consideration of the terrorism upward departure provision contained within

   Application Note 4 of USSG § 3A1.4.




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       The United States intends to present witness testimony to provide further information

about these exhibits at the January 10, 2025, evidentiary hearing.

       Dated: December 10, 2024.

                                           MAC SCHNEIDER
                                           United States Attorney

                                    By:    __________________________
                                           /s/ Jonathan J. O’Konek
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                    EVIDENTIARY HEARING EXHIBIT LIST

NO.      WITNESS       DESCRIPTION
           TROY        Report of Examination
01
       BREITENBACH     Bates Nos. 3891-3894
                       “Communique” document properties
02
                       Bates No. 3893
                       “Communique” document
03
                       Bates No. 3685
                       CART report for Serial 88, Search Warrant
04
                       Bates Nos. 3943-3970
                       Photo of laptop and case
05
                       Bates No. 4075
                       Forensic toolkit file overview
06
                       Bates Nos. 3226
           DERIK       Photo of power transformer
07
         JOHNSON       Bates No. 376
                       Photo of conservator
                       Bates No. 378
                       Photo of load tap changer
                       Bates No. 383
                       Photo of same load tap changer
                       Bates No. 389
                       Photo of inside of load tap changer
                       Bates No. 391
                       Photo of control wiring of load tap changer
                       Bates No. 397
                       Photo of Mountrail-Williams’ station service transformers
                       Bates No. 405
                       Photo of Mountrail-Williams’ cooling fins of station service
                       transformers
                       Bates No. 408
                       Photo of Mountrail-Williams’ voltage transformer
                       Bates No. 862
                       Photo of broken bushing insulator on top of transformer
                       Bates No. 869
                       Photo of cooling fan
                       Bates No. 875



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NO.      WITNESS       DESCRIPTION
                       Photo of high voltage circuit breaker
                       Bates No. 882
                       Photo of Basin main tank of power transformer
                       Bates No. 926
                       Photo of transformer
                       Bates No. 9092
                       Photo of substation property
                       Bates No. 9093
                       Photo of substation property
                       Bates No. 9094
                       Photo of substation property
                       Bates No. 9095
                       Table 4.2: Spare Equipment with Lead Times >1 Year
                       Bates No. 9096
                       Photo of substation property
                       Bates No. 9097
                       Photo of substation property
                       Bates No. 9098
                       Photo of load tap changer
                       Bates No. 9099
                       Photo of substation property
                       Bates No. 9100
                       Photo of control wiring of load tap changer
                       Bates No. 9101
                       Photo of substation property
                       Bates No. 9102
                       Photo of substation property
                       Bates No. 9103
                       Photo of substation property
                       Bates No. 9104
                       BEPC & FBI meeting PowerPoint
                       Bates Nos. 8010-8013; 8030-8037; 8058-8062
           DERIK       Repair Services Contract, Invoice 27006, $536,750
08
         JOHNSON       Bates Nos. 8274-8279
                       Invoice 1004867643, $70,666.42
                       Bates Nos. 4951-4955

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NO.      WITNESS       DESCRIPTION
                       Repair Services Contract, Invoice 26142, $211,886
                       Bates Nos. 4965-4969
                       Repair Services Contract, Invoice 25535, $727,115
                       Bates Nos. 4973-4977
                       Invoice 25610, $18,276
                       Bates No. 4981
                       Invoice 32-045-4902, $36,140
                       Bates No. 4989
           STEVE       Mountrail-Williams Electric Cooperative financials
09
         PETERSON      Bates Nos. 7440-7451
          MARK         Photo of Carpenter substation power transformer radiator
10
         HOFFMAN       Bates No. 8487
                       Photo of oil in secondary containment unit
                       Bates No. 8489
                       Photo of two radiators removed
                       Bates No. 8496
                       Photo of oil channel formed as draining out
                       Bates No. 8474
                       Photo of oil channels and oil absorbents
                       Bates No. 8476
                       Photo of after pumped oil in containment unit
                       Bates No. 8481
                       Photo of door for TransCanada building
                       Bates No. 8291
                       Photo of TransCanada building
                       Bates No. 8305
                       Photo of spray paint markings
                       Bates No. 8310
          MARK         East River financials
11
         HOFFMAN       Bates Nos. 8070-8134; 8178-8180
         FBI SA DAN    Photo of DAPL spray paint markings on rocks
12
           LEWIS       Bates Nos. 254-256
                       Photo of Extinction Rebellion spray paint markings on rocks
                       Bates Nos. 262-267
                       Photo of card with date of search warrant with address
                       Bates No. 2930

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NO.      WITNESS       DESCRIPTION
                       Photo of outside of residence with house number
                       Bates No. 2931
                       Photo of Environmentalism Documents
                       Bates No. 2989
                       Photo of hand drawn map
                       Bates No. 2991
                       Photo of HP laptop case
                       Bates No. 2992
                       Photo of HP laptop
                       Bates No. 2993
                       Photo of handwritten notes
                       Bates No. 2994
                       Evidence collection log
                       Bates No. 2267
                       “AU-Climate Report” .pdf
                       Native format
                       “climate slideshow” .odt
                       Native format
                       “ClimateChange” .jpg
                       Native format
                       “DEAL OUTLINE 2” .docx
                       Native format
                       “pipeline” .pdf
                       Native format
          MARK
13                     Accounting Summary
        DANIELSON




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